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IT IS ORDERED that ECF No. 12 is
GRANTED.

IT IS FURTHER ORDERED that the
Clerk of Court shall detach and
separately file Plaintiff's Amended
Complaint.

IT IS SO ORDERED
DATED: 4:16 pm, October 30, 2020



BRENDA WEKSLER
UNITED STATES MAGISTRATE JUDGE
